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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION


IN RE CATHODE RAY TUBE (CRT)           )   Case No. CV-07-5944-SC
ANTITRUST LITIGATION                   )
                                       )   MDL No. 1917
                                       )
                                       )   LETTER OF REQUEST
This Document Relates to:              )   (LETTERS ROGATORY)
                                       )
ALL ACTIONS                            )
                                       )

             REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                    PURSUANT TO LETTERS ROGATORY
